                   Case 20-50978-CSS              Doc 4      Filed 11/06/20        Page 1 of 3



                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE
                                            x
                                            :
    In re:                                  : Chapter 11
                                            :
    PROMISE HEALTHCARE GROUP, LLC, et al.,1 : Case No. 18-12491 (CSS)
                                            :
              Debtors.                      : (Jointly Administered)
                                            :

                                         x
                                         :
    ROBERT MICHAELSON OF ADVISORY        :
    TRUST GROUP, LLC, in his Capacity as :
    LIQUIDATING TRUSTEE of the PROMISE   :
    HEALTHCARE GROUP LIQUIDATING TRUST, :
                                         :                             Adv. No. 20-50978 (CSS)
               Plaintiff,                :
                                         :
    v.                                   :
                                         :
    3M COMPANY; 3M HEALTH INFORMATION :
    SYSTEMS, INC.,                       :
                                         :
               Defendants.               :
                                         :

                                                               x

                                         AFFIDAVIT OF SERVICE


1
 The Debtors in these Chapter 11 Cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2, Inc. (1913), Promise
Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP
of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006),
HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068),
Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc.
(9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of
Dallas, Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise Hospital of Florida at The Villages,
Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of
Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659),
Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade,
Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise Skilled
Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum
Health, Inc. (4298), Quantum Properties, L.P. (8203), Success Healthcare 1, LLC (6535), Success Healthcare, LLC
(1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise Behavioral Health Hospital of
Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc.
(7529), and PHG Technology Development and Services Company, Inc. (7766). The mailing address for the Debtors,
solely for purposes of notices and communications, is 999 Yamato Road, 3rd FL, Boca Raton, FL 33431.
               Case 20-50978-CSS         Doc 4       Filed 11/06/20   Page 2 of 3




       I, Rachel O’Connor, depose and say that I am employed by Prime Clerk LLC (“Prime
Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

        On October 29, 2020, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served via first class mail on the 3M Notice Parties Service
List attached hereto as Exhibit A:

   •   Complaint for Avoidance and Recovery of Preferential Transfers [Case No. 18-12491-
       CSS, Docket No. 2143]

   •   Summons and Notice of Pretrial Conference in an Adversary Proceeding [Docket No. 2]


Dated: November 5, 2020
                                                              /s/ Rachel O’Connor
                                                              Rachel O’Connor
State of New York
County of New York

Subscribed and sworn to (or affirmed) before me on November 5, 2020, by Rachel O’Connor,
proved to me on the basis of satisfactory evidence to be the person who appeared before me.

/s/ JAMES A. MAPPLETHORPE
Notary Public, State of New York
No. 01MA6370846
Qualified in New York County
Commission Expires February 12, 2022




                                                 2                                    SRF 47642
                                                           Case 20-50978-CSS                   Doc 4            Filed 11/06/20         Page 3 of 3
                                                                                                    Exhibit A
                                                                                           3M Notice Parties Service List
                                                                                            Served via first class mail

                     NAME                                ADDRESS 1                      ADDRESS 2                   ADDRESS 3                ADDRESS 4                    CITY       STATE       ZIP    COUNTRY
3M Company                                    Attn: Michael F. Roman, CEO    3M Center                                                                              Saint Paul       MN      55144
3M Company                                    c/o Greenberg Traurig, LLP     Attn: Alison Elko Franklin, Esq.      Terminus 200 3333 Piedmont Road NE, Suite 2500   Atlanta          GA      30305
3M Health Information Systems, Inc.           Attn: John Mathison, Officer   575 W. Murray Boulevard                                                                Murray           UT      84123
R/A for 3M Company                            Corporation Service Company    2345 Rice Street                      Suite 230                                        Roseville        MN      55113-5603
R/A for 3M Health Information Systems, Inc.   Corporation Service Company    15 W. South Temple                    Suite 600                                        Salt Lake City   UT      84101




                                                                                                     Page 1 of 1
